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                                                                              FILED
                                                                              AUG 2 8 2019
                   IN THE UNITED STATES DISTRICT COURT
                                                                          Clefk, US .
                       FOR THE DISTRICT OF MONTANA                          District o?~trict Coun
                                                                                Miss     ontana
                              BUTTE DIVISION                                           OU/a




  UNITED STATES OF AMERICA,
                                                   CR 19-13-BU-DLC
                        Plaintiff,

  vs.                                               FINDINGS &
                                                    RECOMMENDATION
  F ABJAN ALAMETI,                                  CONCERNING PLEA

                        Defendant.


        The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to two counts of making a false statement to a

federal officer in a matter involving terrorism, in violation of 18 U.S.C. § 1001

(Counts I and III), as set forth in the Indictment. In exchange for Defendant's plea,

the United States has agreed to dismiss Counts II and IV of the Indictment.

        After examining the Defendant under oath, I have made the following

determinations:

        1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

        2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,
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      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I

and III of the Indictment, and that sentence be imposed. I further recommend that

Counts II and IV of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

             DATED this 28th day of August, 2019.


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                                       athkfflL. D~ ,b,lli
                                       United States Magistrate Judge




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